      Case 2:06-cr-00356-MCE Document 84 Filed 08/12/08 Page 1 of 3


 1   BLACKMON & ASSOCIATES
     CLYDE M. BLACKMON (SBN 36280)
 2   JONATHAN C. TURNER (SBN 191540)
     EMILY E. DORINGER (SBN 208727)
 3   813 Sixth Street. Suite 450
     Sacramento, Ca 95814
 4   Telephone: (916) 441-0824
 5   Attorneys for Defendant
     KIENG PHAT LIENG
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                 Case No.: 2:06-CR-0356 FCD
11               Plaintiff,                    STIPULATION AND ORDER
                                               CONTINUING JUDGMENT
12         vs.                                 AND SENTENCING
13   KY CHAN HAU, SAM WANG CHAO, aka
     Saan Wang Sachao, and KIENG PHAT          Date: August 18, 2008
14                                             Time: 10:00 A.M.
     LIENG,                                    Judge: Frank C. Damrell, Jr.
15             Defendants.

16
17         IT IS HEREBY STIPULATED between the Defendant, Kieng Phat
18   Lieng, through his counsel Clyde M. Blackmon, Ky Chan Hau,
19   through his counsel Jerry Chong, and the United States of
20   America, through its counsel Assistant United States Attorney
21   Michael Beckwith, that the imposition of judgment and sentence
22   in this matter be continued from August 18, 2008, to November
23   17, 2008, at 10:00 a.m. before the Honorable Frank C. Damrell,
24   Jr.
25         Although this matter has been continued for the imposition
26   of judgment and sentence a number of times previously, it is
27
28
                                       - 1 –
                      STIPULATION AND ORDER CONTINUING JUDGMENT
                                     AND SENTENCING
      Case 2:06-cr-00356-MCE Document 84 Filed 08/12/08 Page 2 of 3


 1   nevertheless necessary to continue the matter again to develop
 2   information pertaining to Mr. Lieng and Mr. Hau which will be
 3   relevant to the Court’s sentencing decisions as to each
 4   defendant.    Therefore, the parties request the Court to continue
 5   the imposition of judgment and sentence in this case from August
 6   18, 2008, to November 17, 2008.
 7   IT IS SO STIPULATED.
 8
     DATED:       August 11, 2008
 9
10
                                            By: //s// Clyde M. Blackmon____
11                                               Michael Beckwith
                                                 Assistant U.S. Attorney
12
13   DATED:       August 11, 2008
                                            By: _//s// Clyde M. Blackmon___
14                                                 Clyde M. Blackmon
                                                   Attorney for Defendant
15                                                 KIENG PHAT LIENG
16
     DATED:       August 11, 2008
17                                          By: _//s// Clyde M. Blackmon___
                                                   Jerry Chong
18                                                 Attorney for Defendant
19                                                 KY CHAN HAU

20
21
22
23
24
25
26
27
28
                                        - 2 –
                       STIPULATION AND ORDER CONTINUING JUDGMENT
                                      AND SENTENCING
      Case 2:06-cr-00356-MCE Document 84 Filed 08/12/08 Page 3 of 3


 1                          ORDER CONTINUING DATE
                   FOR IMPOSITION OF JUDGMENT AND SENTENCE
 2
 3        GOOD CAUSE APPEARING for the reasons set forth in the
 4   stipulation between counsel, the date for imposition of judgment
 5   and sentence in this matter is continued to November 17, 2008 at
 6   10:00 a.m.
 7        IT IS SO ORDERED.
 8
 9   DATED: August 12, 2008           _______________________________________
10                                    FRANK C. DAMRELL, JR.
                                      UNITED STATES DISTRICT JUDGE
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                       - 3 –
                      STIPULATION AND ORDER CONTINUING JUDGMENT
                                     AND SENTENCING
